               Case 3:25-cv-05240-TMC         Document 58     Filed 07/08/25     Page 1 of 15




 1. 1

 2. 2

 3. 3

 4. 4

 5. 5

 6. 6                              UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 7. 7                                       AT SEATTLE

 8. 8

 9. 9     Ramon RODRIGUEZ VAZQUEZ, et al.,                  Case No. 3:25-cv-05240-TMC

10. 10                          Plaintiffs,                 REPLY MOTION FOR PARTIAL
                                                            SUMMARY JUDGEMENT
11. 11           v.
                                                            Noting Date: July 8, 2025
12. 12    Drew BOSTOCK, et al.,

13. 13                          Defendants.

14. 14

15. 15

16. 16

17. 17

18. 18

19. 19

20. 20

21. 21

22. 22

23. 23

24. 24
         REPLY IN SUPP. OF MOT.                             NORTHWEST IMMIGRANT RIGHTS PROJECT
  25. FOR PARTIAL SUMM. J.                                                  615 Second Ave., Ste. 400
         Case No. 3:25-cv-05240-TMC                                               Seattle, WA 98104
                                                                                      (206) 957-8611
               Case 3:25-cv-05240-TMC             Document 58        Filed 07/08/25      Page 2 of 15




 1. 1                                             INTRODUCTION

 2. 2             Defendants’ response in this case amounts to little more than a “naked policy appeal”

 3. 3 divorced from the text and structure of § 1226. Bostock v. Clayton Cnty., 590 U.S. 644, 680

 4. 4 (2020). But “policy preferences are not a source of . . . statutory authority.” ACA Connects v.

 5. 5 Bonta, 24 F.4th 1233, 1243 (9th Cir. 2022). Here, the statutory authority—its plain text, tools of

 6. 6 interpretation, and longstanding application—demonstrates that Bond Denial Class members are

 7. 7 entitled to bond hearings under § 1226(a). Moreover, unlike Defendants, Plaintiffs have

 8. 8 presented the Court with a unified, coherent account of how § 1225(b) and § 1226(a) interact,

 9. 9 without rendering any provision of those statutes meaningless. Accordingly, the Bond Denial

10. 10 Class is entitled to summary judgment as a matter of law.

11. 11            The Individual Class Members in removal proceedings who have been denied bond

12. 12 pursuant to Defendants’ unlawful policy are also entitled to injunctions. They have faced months

13. 13 of unlawful detention and will continue to do so absent this Court’s intervention. While

14. 14 Defendants assert that individual injunctions would mean there is no indivisible remedy, that is

15. 15 not so: the class still seeks the same declaratory relief that will benefit all members, and the

16. 16 individual injunctions involve the same substance as that declaratory relief. Plaintiffs’ request is

17. 17 the product of 8 U.S.C. § 1252(f)(1), which explicitly permits individual injunctions for class

18. 18 members. And while Defendants also claim that such a procedure is unworkable, that process is

19. 19 logical result of the statute Congress has drafted and the Supreme Court’s interpretation of that

20. 20 statute.

21. 21            Finally, Plaintiffs urge the Court to “direct entry of a final judgment” as to the Bond

22. 22 Denial Class claims immediately upon issuing a ruling. Fed. R. Civ. P. 54(b). This will allow the

23. 23 parties to either promptly appeal or accept the final judgment as to those claims, while the

24. 24

  25. REPLY IN SUPP. OF MOT.
      FOR PARTIAL SUMM. J. - 1
                                                                  NORTHWEST IMMIGRANT RIGHTS PROJECT
                                                                                  615 Second Ave., Ste. 400
         Case No. 3:25-cv-05240-TMC                                                     Seattle, WA 98104
                                                                                            (206) 957-8611
                  Case 3:25-cv-05240-TMC         Document 58       Filed 07/08/25     Page 3 of 15




 1. 1 separate Bond Appeal Class claims proceed to discovery.

 2. 2                                            ARGUMENT

 3. 3        I.   Defendants Have Not Shown That § 1225(b)(2), Rather Than § 1226(a), Applies to
                  Class Members.
 4. 4
                     A. Defendants Have No Response to 8 U.S.C. § 1226’s Plain Text and Rely on
 5. 5                   Their Policy Preferences to Interpret that Section.1

 6. 6             Defendants mischaracterize § 1225(b)(2) as a “specific detention authority” that “governs

 7. 7 over” § 1226(a)’s “general authority,” emphasizing it covers only “applicants for admission.”

 8. 8 Dkt. 56 at 8. The correct analysis, however, begins with § 1226(a)’s “default rule.” Jennings v.

 9. 9 Rodriguez, 583 U.S. 281, 288 (2018). As that subsection provides, “[e]xcept as provided in

10. 10 subsection (c),” noncitizens in detention may be released on bond or conditional parole pending

11. 11 a decision in their removal proceedings. 8 U.S.C. § 1226(a). Subsection (c) exempts from this

12. 12 detention authority, inter alia, certain inadmissible noncitizens, including people who are

13. 13 “inadmissible under paragraph (6)(A) . . . of section 1182(a)”—i.e., those who entered the United

14. 14 States without inspection, and who have been arrested for, charged with, or convicted of certain

15. 15 crimes. Compare id. § 1226(c)(1)(E), with id. § 1182(a)(6)(A). Of course, these “statutory

16. 16 exceptions would be unnecessary” if Congress did not intend for § 1226(a) to cover Bond Denial

17. 17 Class members by default. Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S.

18. 18 393, 400 (2010).

19. 19            Besides this “common sense” understanding of the text, Abramski v. United States, 573

20. 20 U.S. 169, 179 (2014), other canons of statutory interpretation support this reading. As this Court

21. 21 previously explained, courts presume that Congress means textual amendments to “have real and

22. 22
         1
23. 23     Defendants incorporate by reference their arguments that the Court lacks jurisdiction over the
       Bond Denial Class claims. Dkt. 56 at 7 n.4. Plaintiffs likewise incorporate their arguments in
24. 24 response. See Dkt. 54 at 5–18.

  25. REPLY IN SUPP. OF MOT.
      FOR PARTIAL SUMM. J. - 2
                                                                NORTHWEST IMMIGRANT RIGHTS PROJECT
                                                                                615 Second Ave., Ste. 400
         Case No. 3:25-cv-05240-TMC                                                   Seattle, WA 98104
                                                                                          (206) 957-8611
               Case 3:25-cv-05240-TMC           Document 58        Filed 07/08/25      Page 4 of 15




 1. 1 substantial effect.” Dkt. 29 at 28 (quoting Stone v. I.N.S., 514 U.S. 386, 397 (1995)). Defendants’

 2. 2 interpretation does the opposite, rendering § 1226(c)(1)(E) “superfluous—without any operative

 3. 3 significance.” Pulsifer v. United States, 601 U.S. 124, 141 (2024). That violates the well-

 4. 4 established rule that courts should avoid reading a statute to render a provision meaningless. See,

 5. 5 e.g., Shulman v. Kaplan, 58 F.4th 404, 410–11 (9th Cir. 2023). Finally, Plaintiffs’ interpretation

 6. 6 “work[s] in harmony with” the “longstanding administrative construction” of the statute.

 7. 7 Monsalvo Velazquez v. Bondi, 145 S. Ct. 1232, 1242 (2025) (citation omitted).

 8. 8           Defendants have no response whatsoever to these points. Instead, as to § 1226, their sole

 9. 9 argument is that the Laken Riley Act (LRA) is a “[r]edundanc[y]” with § 1225(b)(2), making

10. 10 “doubly sure” people subject to § 1226(c)(1)(E) detention are subject to mandatory detention.

11. 11 Dkt. 56 at 12–13 (citation omitted). This argument is nonsensical; either § 1226 applies, as

12. 12 Plaintiffs contend, or § 1225(b)(2) applies, as Defendants contend. Defendants’ argument instead

13. 13 seeks to set aside the statutory language for policy reasons. But courts “[can]not alter the text in

14. 14 order to satisfy the policy preferences of the [agency].” Barnhart v. Sigmon Coal Co., 534 U.S.

15. 15 438, 462 (2002). In the end, Defendants’ assertion that the LRA is redundant belies their

16. 16 position. While redundancy in a statute sometimes occurs, it is also a “cardinal rule of statutory

17. 17 interpretation that no provision should be construed to be entirely redundant.” United States v.

18. 18 $133,420.00 in U.S. Currency, 672 F.3d 629, 643 (9th Cir. 2012) (emphasis added) (citation

19. 19 omitted). Yet Defendants’ interpretation does exactly that: render § 1226(c)(1)(E) “entirely

20. 20 redundant.” Id. (citation omitted).2

21. 21

22. 22
         2 Defendants’ resort to the statements of individual legislators’ views on the LRA and other
23. 23 detention provisions enacted three decades before, see Dkt. 56 at 12–13, provide them no
       support. See, e.g., Garcia v. United States, 469 U.S. 70, 76 (1984); United States v. Sw. Cable
24. 24 Co., 392 U.S. 157, 170 (1968).

  25. REPLY IN SUPP. OF MOT.
      FOR PARTIAL SUMM. J. - 3
                                                                NORTHWEST IMMIGRANT RIGHTS PROJECT
                                                                                615 Second Ave., Ste. 400
         Case No. 3:25-cv-05240-TMC                                                   Seattle, WA 98104
                                                                                          (206) 957-8611
               Case 3:25-cv-05240-TMC            Document 58        Filed 07/08/25     Page 5 of 15




 1. 1           In sum, Defendants ask this Court to ignore § 1226’s plain text. The Court should reject

 2. 2 that invitation and hold § 1226(a) applies to Bond Denial Class members.3

 3. 3               B. Section § 1225(b)(2) Does Not Provide Mandatory Detention Authority to
                       Detain Bond Denial Class Members.
 4. 4
                As Plaintiffs explained in their motion, § 1226(a) and § 1225(b)(2) work together to
 5. 5
         cover different categories of noncitizens: § 1226(a) covers individuals “already in the country”
 6. 6
         who are detained “pending the outcome of removal proceedings,” Jennings, 583 U.S. at 289, and
 7. 7
         § 1225(b)(2) applies to those “at the Nation’s borders and ports of entry, where the Government
 8. 8
         must determine whether a[] [noncitizen] seeking to enter the country is admissible,” id. at 287.
 9. 9
         This understanding of each detention authority’s role views both provisions “in their context and
10. 10
         with a view to their place in the overall statutory scheme.” King v. Burwell, 576 U.S. 473, 486
11. 11
         (2015) (citation omitted). The statute’s text supports this view, as § 1225 is plainly focused on
12. 12
         inspecting people who have arrived or have just entered the United States. See generally 8
13. 13
         U.S.C. § 1225(a)–(b), (d). Consistent with this understanding of the statutory structure, the Board
14. 14
         of Immigration Appeals also recently explained that § 1225(b) is the applicable detention
15. 15
         authority for individuals who are “detained shortly after unlawful entry” and “just inside the
16. 16
         southern border, and not at a point of entry, on the same day they crossed into the United States.”
17. 17
         Matter of Q. Li, 29 I. & N. Dec. 66, 68 (BIA 2025) (citation modified) (emphasis added).
18. 18
                Defendants’ response that all Plaintiffs are “applicants for admission” under 8 U.S.C.
19. 19
         § 1225(a)(1) because they are “all present in the United States without being admitted,” Dkt. 56
20. 20

21. 21
         3 Defendants also claim that longstanding agency practices should be entitled to no deference
22. 22 here. Dkt. 56 at 13. But in enacting § 1226(a), Congress carried forward the agency’s prior
       detention authority as to noncitizens in the United States, while § 1225 enacted new authorities
23. 23 to address noncitizens at the border. Dkt. 41 at 17–18. That Congress explained this fact in the
       legislative history, Defendants understood the statute that way for years, and Congress recently
24. 24 confirmed this fact only underscores that § 1226(a) applies to class members.

  25. REPLY IN SUPP. OF MOT.
      FOR PARTIAL SUMM. J. - 4
                                                                 NORTHWEST IMMIGRANT RIGHTS PROJECT
                                                                                 615 Second Ave., Ste. 400
         Case No. 3:25-cv-05240-TMC                                                    Seattle, WA 98104
                                                                                           (206) 957-8611
               Case 3:25-cv-05240-TMC           Document 58        Filed 07/08/25     Page 6 of 15




 1. 1 at 8–9, rests on two fundamental errors. First, as Plaintiffs have explained, the term “applicant

 2. 2 for admission” must be understood within the INA’s larger structure. Section 1225(b) is a

 3. 3 processing and inspection scheme for noncitizens attempting to enter the United States—it has

 4. 4 nothing to do with those who have already entered and resided in the country, often for months,

 5. 5 years, and even decades. Such people are not the recent arrivals and “arriving” noncitizens that

 6. 6 § 1225 contemplates. See generally 8 U.S.C. § 1225; see also H.R. Rep. No. 104-469, pt. 1, at

 7. 7 157–58, 228–29 (1996); H.R. Rep. No. 104-828, at 209 (1996) (Conf. Rep.). Congress dealt with

 8. 8 the detention of people like Plaintiffs separately in § 1226, which, as noted above, encompasses

 9. 9 various classes of inadmissible persons already in the United States, including those who entered

10. 10 without inspection.

11. 11          A second key flaw in Defendants’ interpretation is that it renders the statutory phrase “a[]

12. 12 [noncitizen] seeking admission” meaningless. 8 U.S.C. § 1225(b)(2)(A) (emphasis added). This

13. 13 language reflects Congress’s intent to mandatorily detain people who are apprehended at the

14. 14 border and are placed into proceedings where they may seek relief and admission. Such people

15. 15 can be said to be “seeking admission.” Defendants attempt to stretch this much further, asserting

16. 16 that anyone in the United States present without admission can be “deemed to be seeking

17. 17 admission under the immigration laws” even if they are not “actually requesting permission to

18. 18 enter.” Dkt. 56 at 9 (quoting Matter of Lemus, 25 I. & N. 734, 743 (BIA 2012)). But this is not

19. 19 actually a response to Plaintiffs’ argument: Plaintiffs do not contest that individuals who have

20. 20 just entered the United States—without presenting themselves at a port of entry—and who are

21. 21 quickly apprehended may be deemed applicants for admission. Rather, Plaintiffs have explained

22. 22 that the statute also requires “seeking admission,” thus specifying a distinct and additional

23. 23 requirement in § 1225(b)(2)(A). This language confirms that Congress limited that detention

24. 24

  25. REPLY IN SUPP. OF MOT.
      FOR PARTIAL SUMM. J. - 5
                                                                NORTHWEST IMMIGRANT RIGHTS PROJECT
                                                                                615 Second Ave., Ste. 400
         Case No. 3:25-cv-05240-TMC                                                   Seattle, WA 98104
                                                                                          (206) 957-8611
               Case 3:25-cv-05240-TMC           Document 58       Filed 07/08/25      Page 7 of 15




 1. 1 authority to recent entrants—those apprehended upon arrival and affirmatively seeking to

 2. 2 enter—not those who have long since entered and are residing in the United States.

 3. 3           Unlike Defendants’ position, this interpretation gives effect to the phrase “seeking

 4. 4 admission” by clarifying the statute applies when an individual takes steps upon their entry (or at

 5. 5 a port of entry) to be admitted, and not at any point in time after entry. Nor does it render

 6. 6 “applicant for admission” superfluous—that language underscores that people who were

 7. 7 admitted are not covered.

 8. 8           Finally, Defendants observe that “[l]egal status and admission are distinct concepts,”

 9. 9 Dkt. 56 at 10, without explaining why this distinction matters. Defendants’ point appears to be

10. 10 that people can be inadmissible, yet currently have lawful status, and that § 1226(a) refers to

11. 11 such people. But the statute here is concerned with removal proceedings, and for removal

12. 12 purposes, a person is either deportable (as someone who lawfully entered before) or inadmissible

13. 13 (as someone who has not previously entered lawfully). See 8 U.S.C. § 1229a(e)(2) (defining

14. 14 removability). It is true a person who was previously admitted and now applies for a new

15. 15 immigration benefit or relief from removal may have to show they are admissible. See, e.g.,

16. 16 id. U.S.C. § 1255(a) (requiring a person who seeks to adjust their status to be “admissible to the

17. 17 United States”). But removal proceedings are fundamentally concerned with “determining

18. 18 whether a [noncitizen] may be admitted to the United States or, if the [noncitizen] has been so

19. 19 admitted, removed from the United States.” 8 U.S.C. § 1229a(a)(3). Accordingly, it is beside the

20. 20 point that persons who have already been paroled or admitted must demonstrate they are

21. 21 admissible when applying for certain immigration benefits. See, e.g., 8 C.F.R. § 1240.11

22. 22 (addressing such applications for relief as “ancillary matters” in removal proceedings).

23. 23

24. 24

  25. REPLY IN SUPP. OF MOT.
      FOR PARTIAL SUMM. J. - 6
                                                                NORTHWEST IMMIGRANT RIGHTS PROJECT
                                                                                615 Second Ave., Ste. 400
         Case No. 3:25-cv-05240-TMC                                                   Seattle, WA 98104
                                                                                          (206) 957-8611
                   Case 3:25-cv-05240-TMC          Document 58        Filed 07/08/25      Page 8 of 15




 1. 1              Relatedly, Defendants’ citation to § 1227(a)(1) undermines their own arguments. Persons

 2. 2 subject to § 1227(a)(1) are deportable because they were inadmissible at the time of entry. But

 3. 3 such persons are not inadmissible, underscoring that in the context of removal proceedings,

 4. 4 deportability grounds and inadmissibility grounds apply to separate categories of persons based

 5. 5 on whether a person was previously admitted. See 8 U.S.C. § 1227(a) (explaining that the

 6. 6 deportability grounds apply to those “in and admitted to the United States”).

 7. 7              In addition, Defendants’ argument renders key parts of § 1226 meaningless. Subsection

 8. 8 (c) refers to a variety of inadmissibility grounds, and paragraph (c)(1)(E) refers to a person who

 9. 9 “is inadmissible” under 8 U.S.C. § 1182(a)(6)(A)(i) (emphasis added)—that is, someone

10. 10 currently “present in the United States without being admitted or paroled.” A person who “is”

11. 11 inadmissible for this reason cannot have lawful status until they are admitted or paroled,

12. 12 underscoring again that § 1226(a) covers Bond Denial Class members.4

13. 13       II.   The Court Has the Authority to Issue Individual Injunctions.

14. 14                A. Individual Injunctive Relief Is Consistent with Rule 23 and § 1252(f)(1).

15. 15             Defendants err in asserting that the Court lacks authority to issue injunctions for
                                                  5
16. 16 Individual Class Members. Dkt. 56 at 14–20. They contend that the individual members request

17. 17 the type of “different injunction[s]” that Rule 23(b)(2) forecloses. Dkt. 56 at 15 (quoting Wal-

18. 18 Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360 (2011) (emphasis omitted)). But Defendants

19. 19 misread Dukes. See Dkt. 41 at 19–20. Dukes was concerned with injunctions that differ in

20. 20
         4 Defendants’ citation to Florida v. United States, 660 F. Supp. 3d 1239 (N.D. Fla. 2023),
21. 21 provides no support. See Dkt. 56 at 11. The court there reasoned that “§ 1226(a) does not apply
       to applicants for admission apprehended at the Southwest Border.” 660 F. Supp. 3d at 1275.
22. 22 Plaintiffs here do not contend differently: they do not assert that individuals “apprehended upon
       arrival” fall under § 1226(a).
23. 23
       5   Individual Plaintiff David Nunez Hernandez, see Dkt. 41 at 8, no longer seeks an injunction.
24. 24 On July 7, 2025, he was granted relief from removal and released from detention.

  25. REPLY IN SUPP. OF MOT.
      FOR PARTIAL SUMM. J. - 7
                                                                   NORTHWEST IMMIGRANT RIGHTS PROJECT
                                                                                   615 Second Ave., Ste. 400
         Case No. 3:25-cv-05240-TMC                                                      Seattle, WA 98104
                                                                                             (206) 957-8611
               Case 3:25-cv-05240-TMC           Document 58        Filed 07/08/25      Page 9 of 15




 1. 1 substance—i.e., those requiring individualized factual determinations that would necessitate

 2. 2 “additional proceedings . . . to determine the scope of individual relief.” 564 U.S. at 366 (citation

 3. 3 omitted). Here, by contrast, all Bond Denial Class members seek the same declaratory relief. The

 4. 4 injunctions sought by Individual Class Members are consistent with—and virtually identical to—

 5. 5 that broader declaratory relief. They are not substantively different, and they do not require

 6. 6 “additional proceedings” involving differing “individual relief.” Id. Nor do such requests create

 7. 7 intra-class conflicts. All class members still seek the same ultimate relief clarifying their rights.

 8. 8           Defendants liken Plaintiffs’ request to a motion to intervene, warning it “could unduly

 9. 9 complicate this class action” by inviting “an unending line of unnamed class members” to seek

10. 10 individual injunctive relief. Dkt. 56 at 17. But 8 U.S.C. § 1252(f)(1) compels this result. As

11. 11 Plaintiffs have explained, the statute bars classwide injunctive relief but expressly protects the

12. 12 rights of individuals in removal proceedings to seek such relief. Dkt. 54 at 10–16. Thus, class

13. 13 members have no recourse but to individually seek such injunctive relief. Several courts have

14. 14 recognized that where classwide relief is limited to declaratory relief, individual injunctions must

15. 15 remain available. See Dkt. 54 at 15–16 (citing cases).6

16. 16          Defendants also dispute that class members are parties. But class members are

17. 17 indisputably parties “in the sense of being bound by [a] settlement,” Devlin v. Scardelletti, 536

18. 18 U.S. 1, 10 (2002), and accordingly should be treated as parties for other relief purposes, such as

19. 19 obtaining an injunction. That does not mean that all class members are parties for all purposes.

20. 20 See Dkt. 56 at 18 n.6 (noting that class members are not parties for certain purposes, and in

21. 21

22. 22
         6
23. 23     Defendants again assert that this combination of classwide declaratory relief and individual
       injunctive relief constitutes an advisory opinion, but as Plaintiffs explained before, this argument
24. 24 exhibits a misunderstanding of how declaratory relief functions. See Dkt. 41 at 17–18.

  25. REPLY IN SUPP. OF MOT.
      FOR PARTIAL SUMM. J. - 8
                                                                 NORTHWEST IMMIGRANT RIGHTS PROJECT
                                                                                 615 Second Ave., Ste. 400
         Case No. 3:25-cv-05240-TMC                                                    Seattle, WA 98104
                                                                                           (206) 957-8611
               Case 3:25-cv-05240-TMC           Document 58        Filed 07/08/25      Page 10 of 15




 1. 1 particular, discovery). But for purposes of being bound by this litigation and for obtaining relief,

 2. 2 they are parties, as Defendants effectively concede. See Dkt. 56 at 18.

 3. 3           Because class members are parties to this litigation for purposes of relief, intervention is

 4. 4 neither required nor appropriate. Defendants nevertheless suggest at various intervals that

 5. 5 intervention might be necessary, even while signaling they would oppose such intervention. See

 6. 6 Dkt. 56 at 16 (“[U]nnamed class members have failed to follow procedures to intervene . . . .”);

 7. 7 id. at 17 (intervention of additional class members would be unmanageable). Intervention makes

 8. 8 little sense here. The class representative is already vigorously protecting all class members’

 9. 9 interests, including those currently suffering profound harm. See Fed. R. Civ. P. 24(a)(2) (stating

10. 10 the bases required for intervention, including that the intervenor is currently inadequately

11. 11 represented). If anything, it is Defendants’ own approach that will result in an unwieldy

12. 12 litigation, forcing the parties and the Court to engage in serial motions practice rather than

13. 13 simply issuing identical individual injunctions for class members subjected to ongoing unlawful

14. 14 detention.

15. 15          The Court should also reject Defendants’ argument that class members can simply file

16. 16 “individual habeas petition[s]” to obtain relief. Dkt. 56 at 19 n.8. Across the country, Defendants

17. 17 have taken the opposite position—that where a class action challenges a policy, even if that

18. 18 policy falls within § 1252(f)(1), individual actions should be dismissed or stayed. See, e.g., Mot.

19. 19 to Dismiss, Umanor-Chavez v. Noem, No 8:25-cv-01634-SAG (D. Md. June 6, 2025), Dkt. 7 at

20. 20 6–10 (arguing that member of certified class challenging removals to third country should not be

21. 21 permitted to bring individual challenge as to same issue); see also, e.g., Crawford v. Bell, 599

22. 22 F.2d 890, 892–93 (9th Cir. 1979) (affirming district court’s dismissal of individual’s allegations,

23. 23 which were duplicative of those being litigated by certified (b)(2) class action). Here, Defendants

24. 24

  25. REPLY IN SUPP. OF MOT.
      FOR PARTIAL SUMM. J. - 9
                                                                NORTHWEST IMMIGRANT RIGHTS PROJECT
                                                                                615 Second Ave., Ste. 400
         Case No. 3:25-cv-05240-TMC                                                   Seattle, WA 98104
                                                                                          (206) 957-8611
               Case 3:25-cv-05240-TMC           Document 58       Filed 07/08/25      Page 11 of 15




 1. 1 pull a bait and switch, arguing instead that the proper course for class members is to move

 2. 2 forward with individual habeas actions.

 3. 3           Finally, Defendants assert that individual injunctions are not appropriate because they are

 4. 4 not listed in the complaint’s prayer for relief. Dkt. 56 at 20–21. But this is exactly what Rule 54

 5. 5 rejects. The rule provides that “[e]very . . . final judgment should grant the relief to which each

 6. 6 party is entitled, even if the party has not demanded that relief in its pleadings.” Fed. R. Civ. P.

 7. 7 54(c) (emphasis added). Thus, “a meritorious claim will not be rejected for want of a prayer for

 8. 8 appropriate relief.” Holt Civic Club v. City of Tuscaloosa, 439 U.S. 60, 66 (1978). The Ninth

 9. 9 Circuit’s application of this rule in Z Channel Ltd. P’ship v. Home Box Off., Inc., 931 F.2d 1338

10. 10 (9th Cir. 1991), is instructive. There, the plaintiff “never requested damages” in its complaint and

11. 11 sought only “declaratory and injunctive relief.” 931 F.2d at 1340–41. Despite that fact, and citing

12. 12 Rule 54(c), the court held that the relevant count in the complaint sufficiently “allege[d]

13. 13 restraints that could have resulted in financial damages to Z Channel,” and thus it could be

14. 14 appropriate to order relief in the form of damages. Id. at 1341. The same principle applies here:

15. 15 Plaintiffs have stated a “meritorious claim,” and thus relief should not be “rejected for want of a

16. 16 prayer for appropriate relief” as to individual injunctions. Holt Civic Club, 439 U.S. at 66.7

17. 17              B. Nothing Precludes the Court from Issuing Individual Injunctions in This
                       Case.
18. 18
                Defendants’ remaining arguments against individual injunctions are equally unavailing.
19. 19
         First, exhaustion is not required here. Defendants merely “reassert and incorporate” their prior
20. 20
         arguments as to exhaustion. Dkt. 56 at 22 n.10. But those reasons fall short. This case presents a
21. 21

22. 22
         7
23. 23     Defendants assert they might be prejudiced by individual injunctions, pointing to the need for
       the BIA to act. Dkt. 56 at 21 n.9. This argument is similar to Defendants’ exhaustion argument,
24. 24 and the Court should reject it. See infra Sec. II.B.

  25. REPLY IN SUPP. OF MOT.
      FOR PARTIAL SUMM. J. - 10
                                                                NORTHWEST IMMIGRANT RIGHTS PROJECT
                                                                                615 Second Ave., Ste. 400
         Case No. 3:25-cv-05240-TMC                                                   Seattle, WA 98104
                                                                                          (206) 957-8611
               Case 3:25-cv-05240-TMC            Document 58         Filed 07/08/25      Page 12 of 15




 1. 1 pure question of law—not one that implicates agency expertise.8 “When the meaning of a statute

 2. 2 [is] at issue, the judicial role [is] to ‘interpret the act of Congress, in order to ascertain the rights

 3. 3 of the parties.” Loper Bright Enters. v. Raimondo, 603 U.S. 369, 385 (2024) (citation omitted);

 4. 4 see also Dkt. 29 at 14. Next, this case does not encourage circumvention of any administrative

 5. 5 scheme. As this Court previously recognized, resolving the legal issue through the parties’

 6. 6 pending dispositive motions will ensure that “the issue here will not arise again (at least in this

 7. 7 District).” Rivera v. Holder, 307 F.R.D. 539, 551 (W.D. Wash. 2015); see also Dkt. 29 at 15.

 8. 8 Finally, Defendants claim that administrative review is “likely to allow the agency to correct its

 9. 9 own mistakes.” Dkt. 56 at 23 (citation omitted). But the agency is a named Defendant here and

10. 10 has repeatedly defended the Tacoma IJs’ policy, suggesting there is no mistake it intends to

11. 11 correct. Lastly, even if some rationale favored exhaustion, it would still be excused here, where

12. 12 both irreparable harm and agency delay are present. See Dkt. 41 at 22–23, 25–26; Dkt. 29 at 17–

13. 13 21.

14. 14          Second, the Individual Class Members have demonstrated success on the merits.

15. 15 Defendants again focus on whether the Court has the power to issue individual injunctions. Dkt.

16. 16 56 at 23. For the reasons stated above, the Court has such authority. Supra Sec. II.A. In addition,

17. 17 the Individual Class Members have demonstrated—just like the rest of the class—that

18. 18 Defendants’ bond denial policy is unlawful. Supra Sec. I.

19. 19          Third, the Individual Class Members have demonstrated irreparable harm. Defendants

20. 20 argue that no such harm exists because the BIA can provide relief. Dkt. 56 at 24. But that

21. 21 overlooks two critical facts: first, the Defendant agency is now arguing the Tacoma IJs are

22. 22
         8
23. 23     This argument is also particularly odd for Defendants to make when they simultaneously ask
       the Court to ignore the agency’s three decades of expertise applying § 1226(a) to class members.
24. 24 Dkt. 56 at 13.

  25. REPLY IN SUPP. OF MOT.
      FOR PARTIAL SUMM. J. - 11
                                                                  NORTHWEST IMMIGRANT RIGHTS PROJECT
                                                                                  615 Second Ave., Ste. 400
         Case No. 3:25-cv-05240-TMC                                                     Seattle, WA 98104
                                                                                            (206) 957-8611
               Case 3:25-cv-05240-TMC            Document 58        Filed 07/08/25       Page 13 of 15




 1. 1 correct; and second, the BIA often takes months to resolve bond appeals. During this time, as has

 2. 2 already happened and continues to happen, the Individual Class Members are unlawfully

 3. 3 detained. As this Court previously recognized, such unlawful detention is irreparable. Dkt. 29 at

 4. 4 18, 20. And while Defendants suggest the BIA might intervene, they ignore that the BIA has

 5. 5 repeatedly been asked to fix this problem and has failed to do so. See Dkt. 41 at 5. Moreover, the

 6. 6 Board recently affirmed an IJ decision holding § 1225(b)(2)(A) applies to a person who entered

 7. 7 the United States unlawfully in 2015, suggesting it sees nothing to correct here. See Maltese

 8. 8 Decl. Ex. A.

 9. 9           Finally, Defendants assert that the government has a compelling interest in offering

10. 10 uniform guidance on this issue. Dkt. 56 at 24–25. But that claim rings hollow when the Board

11. 11 has declined for years to do precisely that, particularly when the agency now claims the Tacoma

12. 12 IJs are correct. As noted above, this case presents a question of statutory interpretation that is

13. 13 squarely within the Court’s authority to decide. Lastly, Defendants have no response to the

14. 14 compelling public interest and equities that favor Plaintiffs. See Dkt. 41 at 23–24.

15. 15 III.     The Court Should Issue Final Judgment as to the Bond Denial Class Claims and
                Certify the Claims Pursuant to Federal Rule of Civil Procedure 54(b).
16. 16
                Plaintiffs respectfully request that the Court enter final judgment on the Bond Denial
17. 17
         Class claims. Under Federal Rule of Civil Procedure 54(b), “[w]hen an action presents more than
18. 18
         one claim for relief . . . , the court may direct entry of a final judgment as to one or more, but
19. 19
         fewer than all, claims or parties only if the court expressly determines that there is no just reason
20. 20
         for delay.” “[I]n deciding whether there are no just reasons to delay the appeal of individual final
21. 21
         judgments in setting such as this, a district court must take into account judicial administrative
22. 22
         interests as well as the equities involved.” Curtiss-Wright Corp. v. Gen. Elec. Co., 446 U.S. 1, 8
23. 23
         (1980). Where the claims at issue “were separable from the others remaining to be adjudicated,”
24. 24

  25. REPLY IN SUPP. OF MOT.
      FOR PARTIAL SUMM. J. - 12
                                                                  NORTHWEST IMMIGRANT RIGHTS PROJECT
                                                                                  615 Second Ave., Ste. 400
         Case No. 3:25-cv-05240-TMC                                                     Seattle, WA 98104
                                                                                            (206) 957-8611
               Case 3:25-cv-05240-TMC          Document 58        Filed 07/08/25     Page 14 of 15




 1. 1 and where “no appellate court would have to decide the same issues more than once,” issuing

 2. 2 separate final judgments is appropriate under Rule 54(b). Id.

 3. 3           Here, the Bond Denial Class claims are easily separable from the Bond Appeal Class

 4. 4 claims. Judicial efficiency and fairness thus both support entering final judgment. As Plaintiffs

 5. 5 have explained, see Dkt. 54 at 12–13, the nature of the declaratory relief sought here means that

 6. 6 binding final relief will not take effect until the appeals process concludes. In the meantime, the

 7. 7 consequences of the challenged policy are profound. The examples of the Individual Class

 8. 8 Members demonstrate the havoc and trauma that this policy is wreaking on families, U.S. citizen

 9. 9 children, and communities. Accordingly, final and immediate resolution of this claim is

10. 10 imperative.

11. 11                                           CONCLUSION

12. 12          For all the foregoing reasons and those stated in Plaintiffs’ motion, the Court should grant

13. 13 the motion for summary judgment.

14. 14 Respectfully submitted this 8th of July, 2025.

15. 15   s/ Matt Adams                                     s/ Leila Kang
         Matt Adams, WSBA No. 28287                        Leila Kang, WSBA No. 48048
16. 16   matt@nwirp.org                                    leila@nwirp.org

17. 17   s/ Glenda M. Aldana Madrid                        s/ Aaron Korthuis
         Glenda M. Aldana Madrid, WSBA No. 46987           Aaron Korthuis, WSBA No. 53974
18. 18   glenda@nwirp.org                                  aaron@nwirp.org

19. 19   NORTHWEST IMMIGRANT
         RIGHTS PROJECT
20. 20   615 Second Ave., Suite 400
         Seattle, WA 98104
21. 21   (206) 957-8611

22. 22   Counsel for Bond Denial Class

23. 23

24. 24

  25. REPLY IN SUPP. OF MOT.
      FOR PARTIAL SUMM. J. - 13
                                                                NORTHWEST IMMIGRANT RIGHTS PROJECT
                                                                                615 Second Ave., Ste. 400
         Case No. 3:25-cv-05240-TMC                                                   Seattle, WA 98104
                                                                                          (206) 957-8611
               Case 3:25-cv-05240-TMC         Document 58      Filed 07/08/25     Page 15 of 15




 1. 1                                 WORD COUNT CERTIFICATION

 2. 2           I certify that this memorandum contains 4,102 words, in compliance with the Local Civil

 3. 3 Rules.

 4. 4
                                                    s/ Aaron Korthuis
 5. 5                                               Aaron Korthuis, WSBA No. 53974
                                                    NORTHWEST IMMIGRANT RIGHTS PROJECT
 6. 6                                               615 Second Ave., Suite 400
                                                    Seattle, WA 98104
 7. 7                                               (206) 816-3872
                                                    aaron@nwirp.org
 8. 8

 9. 9

10. 10

11. 11

12. 12

13. 13

14. 14

15. 15

16. 16

17. 17

18. 18

19. 19

20. 20

21. 21

22. 22

23. 23

24. 24

  25. REPLY IN SUPP. OF MOT.
      FOR PARTIAL SUMM. J. - 14
                                                             NORTHWEST IMMIGRANT RIGHTS PROJECT
                                                                             615 Second Ave., Ste. 400
         Case No. 3:25-cv-05240-TMC                                                Seattle, WA 98104
                                                                                       (206) 957-8611
